                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

        v.
                                                            CRIMINAL ACTION
 MARK HOUCK                                                 NO. 22-323




                                          ORDER

       AND NOW, this 9th day of January, 2023, it is hereby ORDERED that the Motion for

Discovery (ECF No. 16) is DENIED without prejudice and the Motion to Permit Jury

Questionnaire (ECF No. 33) is DENIED, both for the reasons discussed on the January 4, 2023

telephone conference (ECF No. 39) with all counsel.

       It is further ORDERED that the Motion to Amend/Correct Indictment (ECF No. 32) is

GRANTED.



                                                  BY THE COURT:



                                                  /s/ Gerald J. Pappert
                                                  GERALD J. PAPPERT, J.
